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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     CESAR FIGUEROA
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )              CASE NO. CR. S-09-194 FCD
11                                         )
                       Plaintiff,          )
12                                         )              STIPULATION AND ORDER TO CONTINUE
           v.                              )              STATUS HEARING AND TO EXCLUDE TIME
13                                         )              PURSUANT TO THE SPEEDY TRIAL ACT
                                           )
14   CESAR FIGUEROA,                       )
     MARCUS WILLIAMS,                      )
15                                         )
                       Defendants.         )
16   _____________________________________ )
17          This case is currently scheduled for a status hearing on November 9, 2009. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for November 9, 2009, be continued until January 19, 2010, at 10:00 a.m. In
22   addition, the parties stipulate that the time period from November 9, 2009, to January 19, 2010, be
23   excluded under the Speedy Trial Act (18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4), due to the need to
24   provide defense counsel with the reasonable time to prepare.
25   ///
26   ///
27   ///
28
               Case 2:09-cr-00194-KJM Document 24 Filed 11/06/09 Page 2 of 2


 1   DATED:November 6, 2009
 2
                          Respectfully submitted,
 3
     LAWRENCE G. BROWN                               DANIEL BRODERICK
 4   United States Attorney                          Federal Defender
 5
 6    /s/ Lexi Negin for                             /s/ Lexi Negin
     JILL THOMAS                                     LEXI NEGIN
 7   Assistant U.S. Attorney                         Assistant Federal Defender
     Attorney for United States                      Attorney for Cesar Figueroa
 8
 9                                                   /s/ Lexi Negin for
                                                     MICHAEL HANSEN
10                                                   Attorney for Marcus Williams
11
            IT IS SO ORDERED.
12
     DATED: November 6, 2009
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                                                _______________________________________
14                                              FRANK C. DAMRELL, JR.
15                                              UNITED STATES DISTRICT JUDGE

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